             Case 2:23-bk-01370-FMD                  Doc 73        Filed 06/04/25         Page 1 of 11

                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION
IN RE:

Debtors: Edgar Godfrey
         Nancy Godfrey                                           Case No. 2:23-bk- 01370-FMD

                                      AMENDED CHAPTER 13 PLAN

A.     NOTICES.
Debtor¹ must check one box on each line to state whether or not the Plan includes each of the
following items. If an item is checked as “Not Included,” if both boxes are checked, or if
neither box is checked, the provision will be ineffective if set out later in the Plan.

 A limit on the amount of a secured claim based on a valuation which may result in a          Included   Not Included
 partial payment or no payment at all to the secured creditor. See Sections C.5(d) and (e).
 A separate motion will be filed.
                                                                                                         #

 Avoidance of a judicial lien or nonpossessory, nonpurchase money security interest           Included   Not Included
 under 11 U.S.C. § 522(f). A separate motion will be filed. See Section C.5(e).
                                                                                                         #
 Nonstandard provisions, set out in Section E.                                                Included   Not Included

                                                                                                         #
 THIS AMENDED PLAN PROVIDES FOR PAYMENTS TO                                                   Included   Not Included
 CREDITOR/LESSOR [NAME OF SECURED CREDITOR/LESSOR] TO BE
 INCLUDED IN PLAN PAYMENTS; THE AUTOMATIC STAY IS                                                        #
 REINSTATED AS TO THIS CREDITOR.

NOTICE TO DEBTOR: IF YOU ELECT TO MAKE DIRECT PAYMENTS TO A
SECURED CREDITOR UNDER SECTION C.5(i) OF THIS PLAN, TO SURRENDER
THE SECURED CREDITOR’S COLLATERAL UNDER SECTION C.5(j), TO NOT
MAKE PAYMENTS TO THE SECURED CREDITOR UNDER SECTION C.5(k), OR IF
PAYMENTS TO A SECURED CREDITOR ARE NOT SPECIFICALLY INCLUDED IN
THE PLAN PAYMENTS, THE AUTOMATIC STAY DOES NOT APPLY, AND THE
CREDITOR MAY TAKE ACTION TO FORECLOSURE OR REPOSSESS THE
COLLATERAL.

SECURED CREDITORS INCLUDE THE HOLDERS OF MORTGAGE LOANS, CAR
LOANS, AND OTHER LOANS FOR WHICH THE SECURED CREDITOR HAS A
SECURITY INTEREST IN PERSONAL OR REAL PROPERTY COLLATERAL.




¹ All references to “Debtor” include and refer to both of the debtors in a case filed jointly by two
individuals.


                                                            1
              Case 2:23-bk-01370-FMD        Doc 73      Filed 06/04/25    Page 2 of 11

Effective August 1, 2020
B.      MONTHLY PLAN PAYMENTS. Plan payments (Plan Payments”) include the Trustee’s
fee of 10% and shall begin 30 days from petition filing/conversion date. Debtor shall make Plan
Payments to the Trustee for the period of 36 months. If the Trustee does not retain the full 10%, any
portion not retained will be disbursed to allowed claims receiving payments under the Plan and may
cause an increased distribution to the unsecured class of creditors

$    200.00     from months       1      through       36      .
$               from months              through              .
$               from months              through              .

C.      PROPOSED DISTRIBUTIONS.

        1.       ADMINISTRATIVE ATTORNEY’S FEES.

        Base Fee $3,600.00 Total Paid Prepetition $1,700.00 Balance Due $1,900.00

        MMM Fee $_________ Total Paid Prepetition $__________ Balance Due $________

        Estimated Monitoring Fee at $0.00 per Month.

        Attorney’s Fees Payable Through Plan at $100.00 Monthly (subject to adjustment).

        2.       DOMESTIC SUPPORT OBLIGATIONS (as defined in 11 U.S.C. §101(14A).

 Acct. No.                         Creditor                         Total Claim Amount




        3.       PRIORITY CLAIMS (as defined in 11 U.S.C. § 507).

 Last Four Digits of Acct. No. Creditor                             Total Claim Amount




       4.       TRUSTEE FEES. From each Plan Payment received from Debtor, the Trustee shall
receive a fee, the percentage of which is fixed periodically by the United States Trustee.

        5.       SECURED CLAIMS. Pre-confirmation payments allocated to secured creditors
 under the Plan, other than amounts allocated to cure arrearages, shall be deemed adequate
 protection payments. The Trustee shall disburse adequate protection payments to secured creditors
 prior to confirmation, as soon as practicable, if the Plan provides for payment to the secured
 creditor, the secured creditor has filed a proof of claim, or Debtor or Trustee has filed a proof of

                                                   2
          Case 2:23-bk-01370-FMD               Doc 73      Filed 06/04/25       Page 3 of 11

claim for the secured creditor under § 501(c), and no objection to the claim is pending. If Debtor’s
Plan Payments are timely paid, payments to secured creditors under the Plan shall be deemed
contractually paid on time.

          (a) Claims Secured by Debtor’s Principal Residence that Debtor Intends to Retain -
          Mortgage, HOA and Condominium Association Assessments, and Arrears, if any, Paid
          Through the Plan Under 11 U.S.C. § 1322(b)(5). Debtor will cure prepetition arrearages and
          maintain regular monthly postpetition payments on the following claims secured by Debtor’s
          principal residence. Under 11 U.S.C. § 1328(a)(1), Debtor will not receive a discharge of
          personal liability on these claims.

            Postpetition mortgage payments must be included in the Plan Payments. Mortgage payments
            are due on the first payment due date after the case is filed and continue monthly thereafter. The
            amount of postpetition mortgage payments may be adjusted as provided for under the loan
            documents. Postpetition ongoing homeowner’s association and condominium association
            assessments may be included in the Plan or may be paid direct. If Debtor intends to pay
            postpetition assessments through the Plan, list the Regular Monthly Payment. If Debtor intends
            to pay postpetition assessments direct, state “Direct” in the Regular Monthly Payment column.


Last Four         Creditor           Collateral          Regular          Gap               Arrears
Digits of                            Address             Monthly          Payment
Acct. No.                                                Payment



          (b) Claims Secured by Other Real Property that Debtor Intends to Retain - Mortgage,
          HOA and Condominium Association Assessments, and Arrears, if any, Paid Through the
          Plan Under 11 U.S.C. § 1322(b)(5). Debtor will cure prepetition arrearages and maintain regular
          monthly postpetition payments on the following claims secured by Debtor’s real property. Under
          11 U.S.C. § 1328(a)(1), Debtor will not receive a discharge of personal liability on these claims.

           Postpetition mortgage payments must be included in the Plan Payments. Mortgage payments
           are due on the first payment due date after the case is filed and continue monthly thereafter.
          The amount of postpetition mortgage payments may be adjusted as provided for under the
           loan documents. Postpetition ongoing homeowner’s association and condominium
           association assessments may be included in the Plan or may be paid direct. If Debtor intends
          to pay postpetition assessments through the Plan, list the Regular Monthly Payment. If Debtor
          intends to pay postpetition assessments direct, state “Direct” in the Regular Monthly Payment
          column.


Last Four         Creditor          Collateral           Regular          Gap               Arrears
Digits of                           Address              Monthly          Payment
Acct. No.                                                Payment




                                                     3
         Case 2:23-bk-01370-FMD            Doc 73       Filed 06/04/25     Page 4 of 11


     (c) Claims Secured by Real Property - Debtor Seeks Mortgage Modification Mediation
     (MMM). No later than 90 days from the petition date or the date the case converts to Chapter
     13, Debtor shall file a motion seeking MMM. Information and forms related to MMM are
     available in the Court’s procedure manual on the Court’s website, www.flmb.uscourts.gov.
     Pending the resolution of the MMM, the Plan Payments shall include the following adequate
     protection payments to the Trustee: (1) for homestead property, the lesser of 31% of gross monthly
     income of Debtor and non-filing spouse, if any (after deducting homeowner’s association fees), or
     the normal monthly contractual mortgage payment; or (2) for non-homestead, income-producing
     property, 75% of the gross rental income generated from the property. If Debtor obtains a
     modification of the mortgage, the modified payments shall be included in the Plan Payments. Debtor
     will not receive a discharge of personal liability on these claims.


Last Four Digits      Creditor                       Collateral Address      Adequate
of Acct. No.                                                                 Protection Payment




     (d)           Claims Secured by Real Property or Personal Property to Which 11
     U.S.C. § 506 Valuation APPLIES (Strip Down). Under 11 U.S.C. § 1322 (b)(2), this
     provision does not apply to a claim secured solely by Debtor’s principal residence. A
     separate motion to determine secured status or to value the collateral must be filed.
     Payment on the secured portion of the claim, estimated below, is included in the Plan
     Payments. Unless otherwise stated in Section E, the Plan Payments do not include payments
     for escrowed property taxes or insurance

Last Four    Creditor       Collateral        Claim        Value          Payment        Interest
Digits of                   Description/      Amount                      Through        Rate
Acct. No.                   Address                                       Plan




     (e)           Liens to be Avoided Under 11 U.S.C. § 522 or Stripped Off Under 11
     U.S.C. § 506. Debtor must file a separate motion under 11 U.S.C. § 522 to avoid a judicial
     lien or a nonpossessory, nonpurchase money security interest because it impairs an
     exemption or under 11 U.S.C. § 506 to determine secured status and to strip a lien.

Last Four Digits of Acct.        Creditor                           Collateral Description /
No.                                                                 Address




                                                 4
           Case 2:23-bk-01370-FMD          Doc 73     Filed 06/04/25     Page 5 of 11


(f)             Payments on Claims Secured by Real Property and/or Personal Property to
Which 11 U.S.C. § 506 Valuation DOES NOT APPLY Under the Final Paragraph in 11
U.S.C. § 1325(a). The claims listed below were either: (1) incurred within 910 days before the
petition date and secured by a purchase money security interest in a motor vehicle acquired for
Debtor’s personal use; or (2) incurred within one year of the petition date and secured by a
purchase money security interest in any other thing of value. These claims will be paid in full
under the Plan with interest at the rate stated below.

 Last Four         Creditor      Collateral         Claim          Payment          Interest
 Digits of                       Description/       Amount         Through          Rate
 Acct. No.                       Address                           Plan




       (g)             Claims Secured by Real or Personal Property to be Paid with Interest
       Through the Plan under 11 U.S.C. § 1322(b)(2). The following secured claims will be
       paid in full under the Plan with interest at the rate stated below.

 Last Four         Creditor      Collateral         Claim          Payment          Interest
 Digits of                       Description/       Amount         Through          Rate
 Acct. No.                       Address                           Plan




       (h)           Claims Secured by Personal Property – Maintaining Regular
       Payments and Curing Arrearage, if any, Under 11 U.S.C. § 1325(b)(5). Under 11
       U.S.C. § 1328(a)(1), unless the principal amount of the claim is paid in full through the
       Plan, Debtor will not receive a discharge of personal liability on these claims.

 Last Four           Creditor           Collateral           Regular            Arrearage
 Digits of Acct.                        Description          Contractual
 No.                                                         Payment




              (i) Secured Claims Paid Directly by Debtor. The following secured claims are
              being made via automatic debit/draft from Debtor’s depository account and will
              continue to be paid directly to the creditor or lessor by Debtor outside the Plan via
              automatic debit/draft. The automatic stay under 11 U.S.C. § 362(a) and 1301(a) is
              terminated in rem as to Debtor and in rem and in personam as to any codebtor as



                                                5
            Case 2:23-bk-01370-FMD        Doc 73     Filed 06/04/25     Page 6 of 11

              to these creditors and lessors upon the filing of this Plan. Nothing herein is
              intended to terminate or abrogate Debtor’s state law contract rights. Because
              these secured claims are not provided for under the Plan, under 11 U.S.C. §
              1328(a), Debtor will not receive a discharge of personal liability on these claims.

Last Four Digits of Acct.        Creditor                         Property/Collateral
No.
                                 Point                            510 Via Cintia, Punta Gorda
                                 South State Bank                 510 Via Cintia, Punta Gorda


      (j)            Surrender of Collateral/Property that Secures a Claim. Debtor will
      surrender the following collateral/property. The automatic stay under 11 U.S.C. §§
      362(a) and 1301(a) is terminated in rem as to Debtor and in rem and in personam as to
      any codebtor as to these creditors upon the filing of this Plan.


Last Four Digits of Acct.        Creditor                         Collateral/Property
No.                                                               Description/Address




      (k)             Secured Claims That Debtor Does Not Intend to Pay. Debtor does not
      intend to make payments to the following secured creditors. The automatic stay under 11
      U.S.C. §§ 362(a) and 1301(a) is terminated in rem as to Debtor and in rem and in
      personam as to any codebtor with respect to these creditors upon the filing of this Plan.
      Debtor’s state law contract rights and defenses are neither terminated nor abrogated.
      Because these secured claims are not provided for under the Plan, under 11 U.S.C. §
      1328(a), Debtor will not receive a discharge of personal liability on these claims.

Last Four Digits of Acct.        Creditor                         Collateral
No.                                                               Description/Address




       6.       LEASES / EXECUTORY CONTRACTS. As and for adequate protection, the
Trustee shall disburse payments to creditors under leases or executory contracts prior to
confirmation of the Plan, as soon as practicable, if the Plan provides for payment to
creditor/lessor, the creditor/lessor has filed a proof of claim, or Debtor or Trustee has filed a
proof of claim for the secured creditor/lessor under 11 U.S.C. § 501(c), and no objection to the
claim is pending. If Plan Payments are timely paid, payments to creditors/lessors under the Plan
shall be deemed contractually paid on time.


                                                6
         Case 2:23-bk-01370-FMD           Doc 73     Filed 06/04/25      Page 7 of 11

      (a)             Assumption of Leases/Executory Contracts for Real or Personal
      Property to be Paid and Arrearage Cured Through the Plan Under 11 U.S.C. §
      1325(b)(5). Debtor assumes the following leases/executory contracts and proposes the
      prompt cure of any preterition arrearage as follows. Under 11 U.S.C. § 1328(a)(1), if the
      claim of the lessor/creditor is not paid in full through the Plan, Debtor will not receive a
      discharge of personal liability on these claims.

Last Four          Creditor/Lessor      Description of      Regular             Arrearage and
Digits of Acct.                         Leased              Contractual         Proposed Cure
No.                                     Property            Payment




      (b)             Assumption of Leases/Executory Contracts for Real or Personal
      Property to be Paid Directly by Debtor. Debtor assumes the following lease/executory
      contract claims that are paid via automatic debit/draft from Debtor’s depository account
      and are to continue to be paid directly to the creditor or lessor by Debtor outside the Plan
      via automatic debit/draft. The automatic stay under 11 U.S.C. §§ 362(a) and 1301(a) is
      terminated in rem as to Debtor and in rem and in personam as to any codebtor as to these
      creditors and lessors upon the filing of this Plan. Nothing herein is intended to terminate
      or abrogate Debtor’s state law contract rights. Because these leases/executory contracts
      are not provided for under the Plan, under 11 U.S.C. § 1328(a), Debtor will not receive a
      discharge of personal liability on these claims.

Last Four Digits of Acct.        Creditor/Lessor                   Property/Collateral
No.




      (c)             Rejection of Leases/Executory Contracts and Surrender of Real or
      Personal Leased Property. Debtor rejects the following leases/executory contracts and
      will surrender the following leased real or personal property. The automatic stay under
      11 U.S.C. §§ 362(a) and 1301 (a) is terminated in rem as to Debtor and in rem and in
      personam as to any code debbtor as to these creditors and lessors upon the filing of this
      Plan.

Last Four Digits of Acct.        Creditor/Lessor                   Property/Collateral to be
No.                                                                Surrendered

                                 GM Financial                      2021 Cadillac XT5

                                 Honda Financial Services          2023 Honda Ridgeline



                                                7
            Case 2:23-bk-01370-FMD        Doc 73     Filed 06/04/25      Page 8 of 11

       7.     GENERAL UNSECURED CREDITORS. General unsecured creditors with
allowed claims shall receive a pro rata share of the balance of any funds remaining after
payments to the above-referenced creditors or shall otherwise be paid under a subsequent Order
Confirming Plan. The estimated dividend to unsecured creditors shall be no less than $ 5,350.00.


D.     GENERAL PLAN PROVISIONS:

       1.     Secured creditors, whether or not provided for under the Plan, shall retain the
              liens securing such claims.

       2.     Payments made to any creditor shall be based upon the amount set forth in the
              creditor’s proof of claim or other amount as allowed by order of the Court.

       3.     If Debtor fails to check (a) or (b) below, or if Debtor checks both (a) and (b),
              property of the estate shall not vest in Debtor until the earlier of Debtor’s
              discharge or dismissal of this case, unless the Court orders otherwise. Property of
              the estate

              (a) X      shall not vest in Debtor until the earlier of Debtor’s discharge or
              dismissal of this case, unless the Court orders otherwise, or

              (b) _______ shall vest in Debtor upon confirmation of the Plan.

       4.     The amounts listed for claims in this Plan are based upon Debtor’s best estimate
              and belief and/or the proofs of claim as filed and allowed. Unless otherwise
              ordered by the Court, the Trustee shall only pay creditors with filed and allowed
              proofs of claim. An allowed proof of claim will control, unless the Court orders
              otherwise.

       5.     Debtor may attach a summary or spreadsheet to provide an estimate of anticipated
              distributions. The actual distributions may vary. If the summary or spreadsheet
              conflicts with this Plan, the provisions of the Plan control prior to confirmation,
              after which time the Order Confirming Plan shall control.

       6.     Debtor shall timely file all tax returns and make all tax payments and deposits
              when due. (However, if Debtor is not required to file tax returns, Debtor shall
              provide the Trustee with a statement to that effect.) For each tax return that
              becomes due after the case is filed, Debtor shall provide a complete copy of the
              tax return, including business returns if Debtor owns a business, together with all
              related W-2s and Form 1099s, to the Trustee within 14 days of filing the return.
              Unless otherwise ordered, consented to by the Trustee, or ordered by the Court,
              Debtor shall turn over to the Trustee all tax refunds in addition to regular Plan
              payments. Debtor shall not instruct the Internal Revenue Service or other taxing
              agency to apply a refund to the following year’s tax liability. Debtor shall not
              spend any tax refund without first having obtained the Trustee’s consent or
              Court approval.


                                                8
        Case 2:23-bk-01370-FMD        Doc 73    Filed 06/04/25    Page 9 of 11




E.   NONSTANDARD PROVISIONS as Defined in Federal Rule of Bankruptcy
     Procedure 3015(c). Note: Any nonstandard provisions of this Plan other than those set
     out in this Section are deemed void and are stricken.
     ________________________________________________________________________
     ________________________________________________________________________
     ________________________________________________________________________




                                           9
         Case 2:23-bk-01370-FMD        Doc 73    Filed 06/04/25    Page 10 of 11




                                       CERTIFICATION

       By filing this document, the Attorney for Debtor, or Debtor, if not represented by an
attorney, certifies that the wording and order of the provisions in this Chapter 13 Plan are
identical to those contained in the Model Plan adopted by this Court, and that this Plan
contains no additional or deleted wording or nonstandard provisions other than any
nonstandard provisions included in Section E.




       SIGNATURES:


       Debtor

       /s/ Nancy Godfrey                         Date   June 4, 2025

       Nancy Godfrey


       Attorney for Debtor


       /s/ Benjamin G. Martin                    Date   June 4, 2025

       Benjamin G. Martin




                                            10
          Case 2:23-bk-01370-FMD          Doc 73     Filed 06/04/25     Page 11 of 11




                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the Debtor’s Chapter 13 Plan has been served

electronically or by regular U.S. Mail to the United States Trustee, 501 E. Polk Street, Suite

1200, Tampa, Florida 33602; the Chapter 13 Trustee, Jon Waage, P.O. Box 25001, Bradenton,

FL 34206-5001; Debtor, Nancy Godfrey, 510 Via Cintia, Punta Gorda, FL 33950; and all

creditors on the attached mailing matrix this 4th day of June, 2025.



                                                             /s/ Benjamin Martin
                                                             Benjamin G. Martin
                                                             Attorney at Law
                                                             3131 S. Tamiami Trail. Suite 101
                                                             Sarasota, Florida 34239
                                                             (941) 951-6166
                                                             Florida Bar No. 464661
                                                             skipmartin@verizon.net




                                                11
